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    EXHIBIT 2
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

 In Re:                                            CHAPTER 7 CASE
                                                   CASE NO. 25-30895
 Afnan Mohammed Husain
                                                   UNSWORN DECLARATION FOR PROOF
                   Debtor(s).                      OF SERVICE
 ___________________________________

        James Ockwig, employed by Wilford, Geske & Cook, P.A., attorneys licensed to practice
law in this Court, with office address at 7616 Currell Boulevard, Suite 200, Woodbury, MN
55125, declares that on April 28, 2025, I served the annexed Affidavit of Carvana LLC to each
person referenced below, a copy thereof by enclosing the same in an envelope with first class
postage prepaid and depositing same in the post office at Woodbury, Minnesota addressed to
each of them as follows:

Afnan Mohammed Husain
PO Box 4272
Mankato, MN 56002

and delivered by e-mail notification under CM/ECF on the day efiled with the Court to each of
them as follows:


Michael S. Dietz

The Office of the United States Trustee

And I declare, under penalty of perjury, that the foregoing is true and correct.

Dated: April 28, 2025



                                               /e/ James Ockwig
                                                   James Ockwig
